  Case: 1:17-md-02804-DAP Doc #: 3257 Filed: 04/07/20 1 of 3. PageID #: 492547




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                     MDL No. 2804

THIS DOCUMENT RELATES TO:                             Case No. 1:17-md-2804

Cleveland Bakers and Teamsters Health                 Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue Pharma
L.P., et al., Case No. 1:18-op-45432-DAP


         DISTRIBUTORS’ MOTION TO CERTIFY UNDER 28 U.S.C. § 1292(b)
          THE COURT’S FEBRUARY 21, 2020 ORDER DENYING IN PART
          THEIR MOTION TO DISMISS THIRD-PARTY PAYOR CLAIMS,
           FOR PURPOSES OF SEEKING IMMEDIATE APPEAL OF THE
       COURT’S RULINGS THAT DENIED DISMISSAL OF THE RICO CLAIMS

       Defendants AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson

Corporation (“Distributors”) respectfully request that this Court certify under 28 U.S.C. § 1292(b)

the Court’s February 21, 2020 Opinion and Order, Dkt. 3177 (“Order”) denying in part their

motion to dismiss claims asserted by Cleveland Bakers and Teamsters Health and Welfare Fund

and Pipe Fitters Local Union No. 120 Insurance Fund (collectively, the “Third-Party Payors”).

Specifically, Distributors seek certification of the Order so they may request an interlocutory

appeal of the following issues: (1) whether the Third-Party Payors’ allegations meet RICO’s direct

injury and proximate causation requirement; and (2) whether the Third-Party Payors’ allegations

satisfy RICO’s requirement of injury to “business or property.”

       An immediate appeal of these issues raised by the Court’s Order is warranted. The grounds

for Distributors’ motion are set forth in the attached memorandum of law; a Proposed Order

granting Distributors’ motion or certification under Section 1292(b) is also attached.
 Case: 1:17-md-02804-DAP Doc #: 3257 Filed: 04/07/20 2 of 3. PageID #: 492548




DATED:        April 7, 2020                     Respectfully submitted,


/s/ Mark H. Lynch                               /s/ Robert A. Nicholas
Mark H. Lynch                                   Robert A. Nicholas
Geoffrey E. Hobart                              Shannon E. McClure
Christian J. Pistilli                           REED SMITH LLP
COVINGTON & BURLING LLP                         Three Logan Square
One CityCenter                                  1717 Arch Street, Suite 3100
850 Tenth Street N.W.                           Philadelphia, PA 19103
Washington, DC 20001                            Tel.: (215) 851-8100
Tel: (202) 662-5281                             Fax: (215) 851-1420
mlynch@cov.com                                  rnicholas@reedsmith.com
ghobart@cov.com                                 smcclure@reedsmith.com
cpistilli@cov.com

Counsel for McKesson Corporation                Counsel for AmerisourceBergen
                                                Drug Corporation


/s/ Enu Mainigi
Enu Mainigi
F. Lane Heard III
Ashley W. Hardin
WILLIAMS & CONNOLLY LLP
725 Twelfth Street, NW
Washington, DC 20005
Tel: (202) 434-5000
Fax: (202) 434-5029
EMainigi@wc.com
lheard@wc.com
ahardin@wc.com

Counsel for Cardinal Health, Inc.
  Case: 1:17-md-02804-DAP Doc #: 3257 Filed: 04/07/20 3 of 3. PageID #: 492549




                               CERTIFICATE OF SERVICE

       I, Mark H. Lynch, hereby certify that the foregoing document was served via the Court’s

ECF system to all counsel of record.



                                                   /s/ Mark H. Lynch
                                                   Mark H. Lynch
